            Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 1 of 19



                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION


 DELL TECHNOLOGIES INC. and                      §
 DELL GLOBAL B.V. (Singapore Branch),            §
                                                 §      Civil Action No.     1:18-cv-00666
               Plaintiffs,                       §
                                                 §
 vs.                                             §       JURY TRIAL DEMANDED
                                                 §      (subject to express waiver)
 TIVO CORPORATION                                §
 ROVI CORPORATION                                §
 SONIC SOLUTIONS LLC, and                        §
 SONIC SOLUTIONS

               Defendants.
                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1332, 1338, 1441, 1454, and 1446, Defendants TiVo

Corporation, Rovi Corporation, Sonic Solutions LLC, and Sonic Solutions (collectively,

“Defendants”) hereby remove Cause No. 18-0822-C26, Dell Technologies Inc., and Dell Global

B.V. v. TiVo Corporation et al. (“the Lawsuit”) from the 26th Judicial District Court of

Williamson County, Texas to the United States District Court for the Western District of Texas,

Austin Division.

                                    Statement of the Case

I.     Introduction

       1.     The Lawsuit is rooted in Plaintiffs’ attempts to recover portions of their excessive

and unwarranted settlement in a patent infringement litigation with third parties, Audio MPEG

Inc. (“Audio MPEG”), Società Italiana Per Lo Sviluppo Dell’Electronica, S.P.A. (“Sisvel”), U.S.

Philips Corporation, TDF SAS, and Institut für Rundfunktechnik, United States District Court

for the Eastern District of Virginia, Case No. 1:15-cv-1674 (“the Audio MPEG Action”). The
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 2 of 19



Lawsuit is an attempt to circumvent the dispositive contractual relationship between Dell Global

B.V. and Sonic Solutions and shift responsibility for the settlement that certain Dell entities paid

to Audio MPEG and other plaintiffs in the Audio MPEG Action. The settlement was ostensibly

for the alleged patent infringement by Dell products that had various third parties’ software

installed on them, including CyberLink, Nero AG, and Sonic Solutions software. The software

licensed by Sonic Solutions LLC to Dell was sold under the trade name “Roxio Creator.”

       2.      As explained in detail below, this Lawsuit is properly removed to Federal Court

for at least two independent reasons: (1) Defendants have filed counterclaims in the Lawsuit

raising federal questions of patent law over which federal courts have exclusive jurisdiction; and

(2) Plaintiffs fraudulently joined Dell Technologies Inc. – a non-party to the contract between

Sonic Solutions and Dell Global B.V. and to whom no representations or omissions were made –

to this suit in order to defeat diversity. Additionally, this Court should exercise its discretion to

find supplemental jurisdiction over Plaintiffs’ remaining state law claims because they derive

from the same common nucleus of operative fact as Defendants’ patent law claims and all claims

should be tried in one judicial proceeding.

II.    Procedural History

       3.      On July 7, 2018, Plaintiffs filed a Complaint in the 26th Judicial District Court of

Williamson County, Texas. This Complaint named Rovi Corporation, Sonic Solutions LLC, and

Sonic Solutions, and TiVo Corporation as Defendants. The copy of the Complaint was served

on the Defendants on July 26, 2018. The Complaint alleges that Plaintiffs suffered economic

damages as a result of Defendants’ alleged breach of contract, negligent misrepresentation,

fraudulent misrepresentation, and fraudulent nondisclosure.




                                                 2
              Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 3 of 19



        4.      On August 8, 2018, Defendants responded to the Complaint. In addition to

affirmative defenses and special exceptions, Defendants filed a number of counterclaims against

Plaintiffs arising under federal patent laws. Specifically, in light of Plaintiffs’ allegations that

Defendants breached the agreement at issue by allegedly providing Dell with software that

infringed United States Patents No. 5,323,396 (“the ‘396 patent”), No. 5,777,992 (“the ‘992

patent”), and 5,539,829 (“the ‘829 patent”) (collectively, “Dell Product Patents”), Defendants

filed counterclaims alleging noninfringement and patent exhaustion of the Dell Product Patents.

                                       Grounds for Removal

   I.        Removal Is Proper Under 28 U.S.C. § 1454.

        5.      The Court has original jurisdiction over the Lawsuit under 28 U.S.C. § 1454

because it is “[a] civil action in which [a] party assert[ed] a claim for relief arising under [an] Act

of Congress relating to patents.” 28 U.S.C. § 1454.

        6.      Section 1454 was enacted in September 2011 as part of the Leahy–Smith America

Invents Act (AIA). See Donahue v. Tokyo Electron Am., Inc., 2014 WL 12479285, at *3 (W.D.

Tex. Sept. 2, 2014).       This section “marks a clear change in removal procedure.”                Id.

Traditionally, anticipated defenses to a plaintiff’s state law claims that raise a federal question

were insufficient to provide federal question jurisdiction. However, “[u]nder § 1454, a defendant

with a patent or copyright counterclaim is no longer bound by a plaintiff's well-pleaded state law

complaint to litigate in state court.” Team Express Distrib. LLC v. Junction Sols., Inc., 2016 WL

3081020, at *2 (W.D. Tex. May 31, 2016) (internal citations omitted). Stated differently, “§

1454 overruled the well-pleaded complaint rule when it comes to certain counterclaims, and

specifically allows a defendant to remove a case based on the assertion of a copyright [or patent]

counterclaim even if the case otherwise is completely devoid of federal jurisdiction.” Donahue,



                                                  3
            Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 4 of 19



2014 WL 12479285, at *4.

       7.      Defendants’ counterclaims “arise under” the federal patent laws. Consequently,

removal to federal court is proper. See Alexsam, Inc. v. Green Dot Corp., 2015 WL 6520917, at

*4 (C.D. Cal. Sept. 28, 2015) (removal to federal court was proper where defendants alleged

patent counterclaims in response to a breach of contract, declaratory judgment, and accounting of

records complaint); DEA Specialties Co. v. DeLeon, 2014 WL 4385967, at *3 (W.D. Tex. Sept.

4, 2014) (finding removal appropriate and supplemental jurisdiction of all of state claims).

       8.      On August 30, 2001, non-party Dell Products L.P. and Defendant Sonic Solutions

LLC entered into a Software License Agreement (“SLA,”), whereby Sonic licensed various

versions of its software products, sold under the trade name “Roxio Creator,” to Dell Products

L.P.   Cnt-Compl. ¶ 105.      The SLA provides, among other things, that “Sonic makes no

representation or warranty regarding such infringement where … the infringement arises out of

Sonic’s compliance with any technical or commercial standards adopted by international

organizations … or any other industry standards, … which are proprietary to third parties,

specifically … MPEG … .” Cnt-Compl. ¶ 106. Additionally, the SLA provides that “Sonic

shall [only] fully indemnify, defend and hold harmless Dell … from and against any and all

claims … arising out of or in connection with any alleged or actual breach by Sonic and/or the

Licensed Product(s) of any representations and/or warranties contained in this Agreement.” Cnt-

Compl. ¶ 107.      Certain Roxio Creator software products are included under “Licensed

Product(s)” in the SLA. Cnt-Compl. ¶ 108.

       9.      On November 1, 2010, Sonic Solutions entered into a Clarification Agreement

with Dell Global B.V., which confirmed that Dell Products L.P. assigned certain of its rights and

obligations under the SLA to Dell Global B.V. Cnt-Compl. ¶ 110.



                                                4
               Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 5 of 19



         10.    In 2010, Defendant Rovi Corporation acquired Sonic Solutions, but Sonic

Solutions remained a separate operating company as it relates to Sonic’s licensing of Roxio

Creator software products.1 Cnt-Compl. ¶ 109. On January 12, 2012, Rovi sold certain Sonic

Solutions assets, including the software underlying the SLA described above, to non-party, Corel

Corporation, a Canadian corporation (“Corel”). Cnt-Compl. ¶ 111. As part of this sale, the SLA

between Dell Global B.V. and Sonic Solutions for the Roxio Creator software was transferred to

Corel. Accordingly, Corel thereafter held all assets and liabilities associated with the Roxio

Creator software products and license. Cnt-Compl. ¶ 112. Four years later, in April 2016, Rovi

acquired TiVo, Inc. and through a series of transactions formed a new company TiVo

Corporation. Rovi and TiVo Corporation remain separate operating companies. Cnt-Compl. ¶

114.

         11.    Subsequent to this sale, on February 1, 2012, Dell Global B.V. and Sonic

Solutions executed a Separation Agreement, whereby Dell Global B.V. agreed, on behalf of

itself, Dell Inc., its subsidiaries and affiliates, that the Roxio-related agreements, including the

SLA, would be assigned from Sonic to Corel, and that Dell would look solely to Corel with

respect to any liabilities arising on or after the date of the agreement. Cnt-Compl. ¶ 113.

         12.    On December 21, 2015, the Audio MPEG Action was filed against a non-party,

Dell Inc. See Compl. ¶ 2, Cnt-Compl. ¶ 115. The Audio MPEG Plaintiffs accused Dell Inc.

computers with certain Roxio Creator software products, among other software, of infringing

their MP2 and MP3 (i.e., MPEG) audio standards patents. Cnt-Compl. ¶ 115.

         13.    Specifically, the Audio MPEG Plaintiffs alleged that Dell Inc. infringed their

MPEG-1 Audio Standard Layer II and MPEG-1 Audio Standard Layer III patents by



1
    Sonic Solutions no longer exists, but became Sonic Solutions LLC.
                                                 5
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 6 of 19



manufacturing, selling, or importing devices (including personal computers and mobile devices)

which had the following installed software products:

              a. CyberLink PowerDVD 8.3;

              b. CyberLink PowerDVD 9.5;

              c. CyberLink Media Suite Essentials (PowerDVD 10, PowerDirector 10, and

                  Power2Go 8);

              d. CyberLink Media Suite Premium (PowerDVD 10, PowerProducer v5, and

                  Power2Go 8)

              e. Roxio Creator Starter;

              f. Roxio Creator 2011;

              g. Roxio Creator Dell Edition 9;

              h. Roxio Creator Dell Edition 10.2;

              i. Roxio Creator Dell Edition 10.3;

              j. Nero 9. Cnt-Compl. ¶ 116.

       14.    Among other defenses, Dell Inc. advanced the following defenses in the Audio

MPEG Action:

              a. The Dell Product Patents are not essential to the MPEG-1 or MPEG-2 Audio

                  Standards;

              b. Dell Inc.’s products do not infringe the Dell Product Patents;

              c. The Dell Product Patents were anticipated and obvious;

              d. The accused software programs did not have infringing functionality. Cnt-

                  Compl. ¶ 117.

       15.    Dell Inc. also asserted that the Audio MPEG plaintiffs licensed their patents to



                                               6
              Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 7 of 19



Microsoft in November 2, 2006 pursuant to an agreement (“Audio MPEG – Microsoft License

Agreement”). The Audio MPEG – Microsoft License Agreement allows Microsoft to sell,

license, or distribute software to third parties. Cnt-Compl. ¶ 118. Pursuant to the Audio MPEG

– Microsoft License Agreement, Microsoft sold Dell a license to Windows. Accordingly, Dell’s

computers sold with Windows were licensed. In addition, Roxio Creator Starter, Roxio Creator

2011, Roxio Creator Dell Edition 9, Roxio Creator Dell Edition 10.2, and Roxio Creator Dell

Edition 10.3 were all intended to and did use the Microsoft-licensed software in order to perform

the functionality allegedly covered by the patents-in-suit. Cnt-Compl. ¶ 119.

       16.     Dell Technologies Inc. and Dell Global B.V. claim that Dell Inc. ultimately

settled the Audio MPEG Action infringement claims for a “significant amount, a large portion of

which was directly associated with the infringing and unlicensed software of [Roxio Creator].”

Compl. ¶ 2.

       17.     Subsequent to the filing of the Audio MPEG Action, Dell requested indemnity

and defense from Rovi. Rovi denied this request based, in part, on the Separation Agreement,

and directed Dell Inc.’s defense and indemnification inquiries to Corel. Cnt-Compl. ¶ 120.

       18.     In light of Rovi’s denial of indemnification, Dell alleged fraudulent and negligent

misrepresentations and omissions, as well as breach of the SLA. See Compl. ¶¶ 35-57. For their

breach of contract claim, Plaintiffs allege that Defendants “breached the SLA by providing

Roxio Creator software … infringed the intellectual property rights,” Compl., ¶ 63, embodied in

the Dell Product Patents for which Dell, Inc. ultimately settled the Audio MPEG Action.

       19.     Dell claims that the damage which forms the basis of its suit against Defendants is

the settlement that it paid to the Audio MPEG Plaintiffs:        “Dell ultimately had to pay a

significant amount to settle the [Audio MPEG] infringement claims… This suit is to hold TiVo



                                                7
                 Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 8 of 19



accountable for its action and make Dell whole”; “Because the Roxio Creator software had the

ability to decode MP3 audio without using Microsoft software, Dell lacked its defenses of

license and exhaustion in the Audio MPEG litigation for 26 million computers installed with

Roxio Creator software. Ultimately, Dell paid a significant amount to settle Audio MPEG’s and

Sisvel’s infringement claims.” Compl., ¶¶ 2, 34.

          20.      Based on these allegations, Defendants filed counterclaims for noninfringement

and patent exhaustion of the Dell Product Patents. These counterclaims are dispositive of the

Plaintiffs’ claims in this case. If the Dell Product Patents are not infringed, or are in fact

exhausted, then the essential basis of Plaintiffs’ breach of contract claim fails. Moreover, if,

ultimately, Audio MPEG’s intellectual property rights were not affected by Dell’s computers

containing Defendants’ software, by virtue of being nonexistent, then Dell cannot show that it

was harmed by any alleged conduct of the Defendants. It merely elected to pay the Audio

MPEG Plaintiffs an undisclosed amount of money for reasons of its own choosing. But there is

no causal connection between this payment and any actions taken by Defendants.

    II.         Removal Is Alternatively and Independently Proper Under 28 U.S.C. § 1332 and
                the Fraudulent Joinder Doctrine

          21.      As an alternative and independent ground from 28 U.S.C. § 1454, the Court also

has original jurisdiction of this Lawsuit under 28 U.S.C. § 1332 because there is complete

diversity between the only appropriate parties to the Lawsuit and the amount in controversy,

exclusive of interests and costs, exceeds $75,000.

          22.      Plaintiff Dell Technologies Inc. is currently, and was at the time the Complaint

was filed, a corporation that is organized and incorporated under the laws of Delaware with a

principal place of business in Texas. However, its presence in the Lawsuit must be ignored

because it was fraudulently joined in order to defeat diversity jurisdiction.           Once Dell

                                                   8
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 9 of 19



Technologies Inc. is removed from the Lawsuit, there is complete diversity between the

remaining parties as explained below.

       23.     Plaintiff Dell Global B.V. is currently, and was at the time the Complaint was

filed, a corporation that is organized and incorporated under the laws of The Netherlands with a

principal place of business in Singapore.

       24.     Defendant TiVo Corporation is currently, and was at the time the Complaint was

filed, a corporation that is organized and incorporated under the laws of Delaware with a

principal place of business in California.

       25.     Defendant Rovi Corporation is currently, and was at the time the Complaint was

filed, a corporation that is organized and incorporated under the laws of Delaware with a

principal place of business in California.

       26.     Defendant Sonic Solutions LLC is currently, and was at the time the Complaint

was filed, a corporation that is organized and incorporated under the laws of California with a

principal place of business in California.

       27.     Defendant Sonic Solutions no longer exists because it has merged into Sonic

Solutions LLC. However, it was a corporation that was organized and incorporated under the

laws of California with a principal place of business in California.

       28.     An exception to the requirement of complete diversity occurs when a nondiverse

plaintiff has been “fraudulently joined.” Joinder of a nondiverse plaintiff is deemed fraudulent,

and the plaintiff’s presence in the lawsuit is ignored for the purposes of determining diversity,

where “there is no possibility that the plaintiff would be able to establish a cause of action

against [] defendant[s] in state court.” Miller v. Home Depot, U.S.A., Inc., 199 F. Supp. 2d 502,

507 (W.D. La. 2001)



                                                 9
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 10 of 19



       29.     There is ample authority for finding that the fraudulent joinder doctrine can be

applied to an alleged fraudulent plaintiff who was joined to avoid removal to federal court. See

id. at 508 (finding that nondiverse plaintiffs were fraudulently joined where they had no privity

with the defendants in a products liability class action); Guillot v. Credit Suisse Boston, L.L.C.,

2005 WL 2037372, at *5 (E.D. La. July 21, 2005) (“The doctrine of fraudulent joinder is

applicable to both plaintiffs and defendants.”); O'Neil Prods., Inc. v. ABC Sports, Inc., 2007 WL

1169357, at *3 (E.D. La. Apr. 19, 2007) (finding that a corporation was a fraudulent plaintiff

because it lacked the procedural capacity to sue in the state).

       30.     To determine whether “a plaintiff has a reasonable basis of recovery” that would

defeat a claim of improper joinder, “[t]he court [will] conduct a Rule 12(b)(6)-type analysis,

looking initially at the allegations of the complaint to determine whether the complaint states a

claim under state law against the in-state defendant. Ordinarily, if a plaintiff can survive a Rule

12(b)(6) challenge, there is no improper joinder.” 8000 Del Donore HOA-8000 Inc. v. Mid-

Century Ins. Co., 2018 WL 2222847, at *2 (W.D. Tex. Apr. 30, 2018) (citing Smallwood v.

Illinois Cent. R. Co., 385 F.3d 568, 573 (5th Cir. 2004)).

       31.     Here, Dell Technologies Inc.’s inclusion in any of the asserted claims cannot

survive a 12(b)(6) analysis. The SLA was executed between Sonic Solutions and a non-party,

and later assigned to Plaintiff Dell Global B.V. Cnt-Compl. ¶¶ 105, 110. Dell Technologies Inc.

is neither a party to the contract nor an intended third party beneficiary.2 Consequently, it cannot

assert a breach of contract claim.



2
    “To determine whether the contracting parties intended to directly benefit a third party …
[t]he contract must include a clear and unequivocal expression of the contracting parties' intent to
directly benefit a third party, and any implied intent to create a third-party beneficiary is
insufficient.” First Bank v. Brumitt, 519 S.W.3d 95, 102 (Tex. 2017) (internal citations omitted).
Here, the SLA is entirely devoid of any expression of intent to benefit a third party, let alone any
                                                 10
              Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 11 of 19



        32.     Similarly, the alleged misrepresentations and omissions that are at the heart of

Plaintiffs’   negligent   misrepresentations,   fraudulent    misrepresentations,   and    fraudulent

nondisclosure claims were made to representatives of Dell Global B.V. that approached Rovi

Corporation alleging breach of contract and seeking indemnity from Rovi Corporation. Compl.

¶¶ 25-27. Indeed, all of the communications concerning the contract, its alleged breach and

indemnity, including the alleged representations and omissions, arose out the contractual

relationship governed by the SLA and its subsequent amendments and clarifications, and

occurred between Rovi Corporation’s representative and representatives of Dell Global B.V., the

only party with any basis to approach Rovi related to the SLA. Cnt-Compl. ¶¶ 105, 110.

Consequently, Dell Technologies Inc. may not assert these claims as well.            See Prater v.

Wackenhut Corr. Corp., 44 F. App'x 654 (5th Cir. 2002) (finding that plaintiff had no standing to

assert a fraudulent misrepresentation claim when no misrepresentation was made to plaintiff,

even where he might have been a third party beneficiary to the party to whom the fraudulent

misrepresentation was made); Ernst & Young, L.L.P. v. Pac. Mut. Life Ins. Co., 51 S.W.3d 573,

578 (Tex. 2001) (holding that “a misrepresentation made through an intermediary is [only]

actionable if it is intended to influence a third person's conduct”).

        33.     The amount in controversy also clearly exceeds the jurisdictional limit. Plaintiffs

have requested relief in the form of monetary damages and asked for the court to award punitive

damages, as well as attorneys’ fees. 3 Moreover, Dell Global B.V. demanded damages from

Defendants in excess of $75,000 arising out of the claims described above prior to filing this

lawsuit.

clear or unequivocal expression of such intent for the benefit of Dell Technologies Inc.
3
   Pursuant to 28 U.S.C. § 1446(c)(2)(A)(ii), “the notice of removal may assert the amount in
controversy if the initial pleadings seek … a money judgment, but the State practice [] does not
permit demand for a specific sum.”
                                                  11
                 Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 12 of 19



    III.         Supplemental Jurisdiction Exists Over Plaintiffs’ State Law Claims

           34.      “Federal courts have supplemental jurisdiction over state law claims that ‘are so

related to claims in the action within such original jurisdiction that they form part of the same

case or controversy.’” Team Express Distrib. LLC, 2016 WL 3081020, at *3 (citing Wisconsin

Dep't of Corr. v. Schacht, 524 U.S. 381, 387 (1998)); see also 28 U.S.C. § 1367(a) (“[I]n any

civil action of which the district courts have original jurisdiction, the district courts shall have

supplemental jurisdiction over all other claims that are so related to claims in the action within

such original jurisdiction that they form part of the same case or controversy under Article III of

the United States Constitution.”); Hamilton v. Burlington N. Santa Fe Ry. Co., 2008 WL

8148619, at *11 (W.D. Tex. Aug. 8, 2008) (“The Supreme Court, interpreting the scope of the

supplemental jurisdiction statute, 28 U.S.C. § 1367, noted that historically, in cases involving

supplemental jurisdiction, the jurisdictional statutes should be read broadly, on the assumption

that in this context Congress intended to authorize courts to exercise their full Article III power

to dispose of an entire action before the court which comprises but one constitutional case.”)

(internal citations omitted).

           35.      Where the plaintiff’s state claims and the federal counterclaims “derive from a

common nucleus of operative fact,” they should be “tried in one judicial proceeding.” Team

Express Distrib. LLC, 2016 WL 3081020, at *3 (internal citations omitted).                    Claims and

counterclaims derive from the a common nuclear of operative fact where “[t]he issues of the case

are factually intertwined and the [federal counterclaim] is not merely an appendage that can be

separated and litigated independently in federal court.” Id.

           36.      “If a district court has supplemental jurisdiction, it may still decline to exercise it

after consideration of the statutory factors set forth in 28 U.S.C. 1367(c) and the common law



                                                      12
               Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 13 of 19



factors of judicial economy, convenience, fairness, and comity.” Donahue, 2014 WL 12479285,

at *7.    Here, both common law and statutory factors are in favor of the court exercising

jurisdiction over Plaintiffs’ state law claims.

         1.      Plaintiffs’ and Defendants’ Claims Derive from the Same Common Nucleus
                 of Operative Facts

         37.     Plaintiffs’ state law claims derive from the same common nucleus of operative

facts as Defendants’ patent law claims. The underlying issue for all the claims is whether the

Dell products containing certain Roxio Creator software, among other software, infringe any

valid, non-exhausted Dell Product Patent.

         38.     The Complaint makes it apparent that the alleged infringement of these patents

predominates the parties’ dispute. Plaintiffs allege that Audio MPEG and Sisvel “ha[d] the

exclusive rights to grant licenses to third parties for certain U.S. and non-U.S. patent rights

relating to the encoding and decoding of MP2 and MP3 audio.” Compl. ¶ 21. “[Defendants

were] aware of Audio MPEG’s and Sisvel’s [now resolved] infringement claims against Dell…

[Defendants] began representing that the Roxio Creator software did not contain internal MP3

codecs and relied on Microsoft codecs to provide MP3 functionality.”              Compl. ¶ 22.

“[Defendants] also [were] aware that Audio MPEG and Sisvel [previously] claimed both MP2

and MP3 technology necessarily infringed their patents. [Defendants] understood that it was

critical to Dell that the Roxio Creator software access and use the Microsoft Windows operating

systems for encoding and decoding MP2 and MP3.” Compl. ¶ 24.

         39.     Consequently, the reason why the alleged misrepresentations (and omissions)

about the functionality of Roxio Creator software were actionable – the reason why Plaintiffs

allege they relied on these statements, the reason why Plaintiffs allege they suffered harm as a

result of these statements, and the reason why Plaintiffs allege these statements were material –

                                                  13
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 14 of 19



is because they affected Plaintiffs’ understanding of Plaintiffs’ legal rights and obligations with

respect to the Dell Product Patents.

       40.     In Van Steenburg v. Harman, the plaintiffs alleged state claim claims of breach of

contract and conversion, to which defendants counterclaimed for “copyright infringement,

misappropriation of trade secrets, conspiracy to misappropriate trade secrets, breach of contract,

fraud, and fraud in a real estate transaction”, and “a declaratory judgment of IP ownership.”

2015 WL 1509940, at *7 (W.D. Tex. Mar. 31, 2015). The court found that all of these “claims

form part of the same common nuclear of operative fact, because they each involve the common

issues of what the terms of the parties’ agreement were and whether [plaintiff] breached them.”

Id. at *8; see also DEA Specialties Co., 2014 WL 4385967, at *4 (finding jurisdiction over state

law claims for breach of contract, negligence, gross negligence, tortious interference with

prospective business relations, and fraud, and requests declaratory and injunctive relief because

these claims were supplemental to the copyright infringement claim of the subject matter of the

contract). Just like the claims in Van Steenburg and DEA Specialties, here, all the claims revolve

around one issue – whether the Roxio Creator software provided by Sonic Solutions to Dell

Global B.V. under the SLA and installed on Dell’s computers infringe any valid, non-exhausted

Dell Product Patent.

       41.     Here, the state law claims are “directly related” to the alleged patent law claims.

Each of Plaintiffs’ claims are based on the parties' contractual relationship.4 The alleged breach,

misrepresentations and omissions are focused on a single issue -- whether the software provided

by Sonic Solutions infringed the Dell Product Patents. See Compl. ¶¶ 37, 44, 51, 62-64. A


4
    Plaintiffs allege that Defendants “had a duty to disclose” information to Plaintiffs. See
Compl. ¶ 38, 52. However, parties to an arms-length negotiated contract do not typically owe a
duty of disclosure to each other regarding the functioning of their products outside of the terms
and conditions of the contract.
                                                14
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 15 of 19



declaration that the Dell Product Patents are exhausted or not infringed would resolve Plaintiffs’

claims. The breach of contract claim is predicated on the provision of allegedly infringing Roxio

Creator programs in violation the SLA; the fraudulent and negligent misrepresentation and the

nondisclosure claims are predicated on the alleged harm that stemmed from the alleged reliance

on the non-infringement of the Roxio Creator programs. Hence, the court should exercise

supplemental jurisdiction over each of Plaintiffs’ state law claims.

       2.      The Statutory and Common Law Factors Favor Supplemental Jurisdiction

       42.     28 U.S.C. § 1367(c) lists four statutory factors for the court to consider in

deciding to exercise its discretionary power to exercise supplemental jurisdiction. “The district

court may decline exercise supplemental jurisdiction over a claim if (1) the claim raises a novel

or complex issue of State law, (2) the claim substantially predominates over the claim or claims

over which the district court has original jurisdiction, (3) the district court has dismissed all

claims over which it has original jurisdiction, or (4) in exceptional circumstances, there are other

compelling reasons for declining jurisdiction.” 28 U.S.C. § 1367(c). All four of these statutory

discretionary factors point in favor of supplemental jurisdiction in this case.

       43.     Plaintiffs claims for breach of contract, negligent misrepresentation, fraudulent

misrepresentation, and fraudulent nondisclosure do not raise novel or complex issues of state

law. Even if Dell argues that its claims may be factually complex, it does not follow that they

“raise any particularly novel issues of state law.” See Team Express Distrib. LLC, 2016 WL

3081020, at *3 (finding that claims for fraudulent inducement, fraudulent misrepresentation,

negligent misrepresentation, breach of contract, and breach of warranty did not present novel

issues of state law). Just as the plaintiffs’ claims in Team Express, this factor weighs against the

court exercising its discretion to decline jurisdiction.



                                                  15
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 16 of 19



       44.     Plaintiffs’ claims do not predominate over the patent law claims. To the contrary,

the patent law claims are at the heart of this suit. As explained in detail above, Plaintiffs’ claims

for alleged breach, misrepresentations and omissions are focused on a single issue -- whether the

software provided by Sonic Solutions infringed the Dell Product Patents. See Compl. ¶¶ 37, 44,

51, 62-64. A declaration that the Dell Product Patents are exhausted or not infringed would

resolve Plaintiffs’ claims.   The breach of contract claim is predicated on the provision of

allegedly infringing Roxio Creator programs in violation the SLA; the fraudulent and negligent

misrepresentation and the nondisclosure claims are predicated on the alleged harm that stemmed

from the alleged reliance on the non-infringement of the Roxio Creator programs.

       45.     The district court has not dismissed the claims over which it is has original

jurisdiction and there are no exceptional circumstances for declining jurisdiction. For all the

reasons explained above, common law factors of judicial economy, convenience, fairness, and

comity, as applied to this case, are in favor of the exercise of supplemental jurisdiction.

       46.     Consequently, “it is appropriate for the Court to exercise supplemental

jurisdiction over [Plaintiffs’] state law claims.” See Team Express Distrib. LLC, 2016 WL

3081020, at *3.

                           Removal is Timely and Otherwise Proper

       47.     This Notice of Removal is timely filed. 28 U.S.C § 1446 states that a removal

notice must be filed within 30 days of receipt of the initial pleading.            Plaintiffs served

Defendants with this pleading on July 26, 2018. This Notice of Removal is filed within 30 days

of that service. This Notice of Removal is, therefore, timely filed under 28 U.S.C. § 1446 (b).

       48.     This action is not one described in 28 U.S.C. § 1445.




                                                 16
             Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 17 of 19



       49.     Accordingly, removal of the Lawsuit to this United States District pursuant to 28

U.S.C. §§ 1441 and 1446 is proper because:

               a. The Lawsuit asserts a claim for relief arising under an Act of Congress

                    relating to patents; and

               b.   Complete diversity exists and the amount in controversy exceeds $75,000,

                    exclusive of interests and costs. Thus, this court has jurisdiction over this

                    Lawsuit.

                                    Notice Given to State Court

       50.     Pursuant to 28 U.S.C. §1446(d), a copy of this notice of removal is being (1) filed

concurrently with the Clerk of the District Court for Williamson County, Texas and (2) served on

all parties to the Lawsuit as reflected in the certificate of service below.

                                               Conclusion

       51.     Removal to this Court is proper on §1454 grounds or, in the alternative, on

diversity grounds. Consent of the plaintiffs is not required, and this notice of removal is filed

within 30 days of when all defendants were served with plaintiffs’ state-court complaint. By this

notice Defendants do not waive any objections they may have as to service, jurisdiction, venue

or sufficiency of Plaintiffs’ pleading or claims, nor do Defendants waive any other objections or

defenses they may have to this Lawsuit. Defendants also intend no admissions of law, fact, or

liability by this notice. Defendants expressly reserve all defenses, motions, and pleas.




                                                  17
Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 18 of 19



                          Respectfully submitted,


                          /s/ Christopher D. Porter
                          Christopher D. Porter
                          Texas Bar No. 24070437
                          Quinn Emanuel Urquhart & Sullivan LLP
                          711 Louisiana Street, Suite 500
                          Houston, TX 77002
                          713.221.7000 phone
                          713-221-7100 facsimile
                          chrisporter@quinnemanuel.com

                          Attorney for Defendants TiVo Corporation, Rovi
                          Corporation, Sonic Solutions LLC, and Sonic
                          Solutions




                            18
           Case 1:18-cv-00666 Document 1 Filed 08/08/18 Page 19 of 19



                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing notice was served upon the
following counsel of record on August 8, 2018 by electronic mail, by facsimile, and by
certified mail, return receipt requested:

R. Mark Dietz of Dietz & Jarrard, P.C. and John Thorne of Kellogg, Hansen, Todd, Figel &
Frederick, P.L.L.C.

                                         /s/ Christopher D. Porter
                                         Christopher D. Porter




                                           19
